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                               UNITED STATES DISTRICT COURT
                                             for the
                                      District of Colorado

 COLORADO MONTANA WYOMING                        )
 STATE AREA CONFERENCE OF THE                    )
 NAACP, LEAGUE OF WOMEN VOTERS                   )
 OF COLORADO, and MI FAMILIA VOTA                )   Civil Action No. 1:22-cv-00581-CNS-
                                                 )   NRN
 Plaintiffs,                                     )
                                                 )
         -v-                                     )
                                                 )
                                                 )
 UNITED STATES ELECTION INTEGRITY                )
 PLAN, SHAWN SMITH, ASHELY EPP, and              )
 HOLLY KASUN                                     )
                                                 )
 Defendants.                                     )



     ORDER REGARDING DEFENDANT SHAWN SMITH’S MOTION IN LIMINE


        THIS MATTER coming before the Court Defendant Shawn Smith’s Motion in Limine,

THIS COURT, having reviewed the same and being fully advised in the premises, hereby grants

or denies the following:

 Granted       Denied      Exhibit No.   Description of item to be excluded

                           1             CPR Radio Story Concerning USEIP Canvassing
                                         Efforts
                           2             Erik Maulbetsch, Aug. 11, 2021 Article published in
                                         Colorado Times Recorder
                           3             Video of third-party discussing USEIP Voter
                                         Verification Efforts
                           4             Miles Parks, July 21, 2022 Article published in NPR

                           5             Video of third-party discussing canvassing efforts

                           6             Erick Maulbetsch, Oct 1, 2021 Article published in
                                         Colorado Times Recorder
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                      7          Jan Wondra, Dec. 9, 2021 Article published in Ark
                                 Valley Voice
                      8          Peter Stone, May 9, 2022 Article published in The
                                 Guardian
                      9          Liz Dye, March 21, 2022 Article published in Above
                                 the Law
                      10         Reuters April 29, 2022 Article

                      11         NPR July 14, 2022 Article



IT IS SO ORDERED on this     day of                     , 2024.

                                      BY THE COURT:




                                      JUDGE CHARLOTTE N. SWEENEY
                                      UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO
